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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
MARK MEADOWS,                                  )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )      Case No. 1:21CV3217 (CJN)
                                               )
NANCY PELOSI, et al.,                          )
                                               )
                Defendants.                    )
                                               )

      UNCONTESTED MOTION TO EXTEND DEADLINES FOR AMENDED
    COMPLAINT AND JOINT REPORT AND PROPOSED SCHEDULING ORDER

       Plaintiff Mark Meadows (“Plaintiff”), pursuant to LCvR 7 and the Court’s Standing Order

for Civil Cases (ECF No. 4 ¶ 9), files this uncontested motion for an extension of the deadlines (i)

for Plaintiff to file his amended complaint as a matter of right, and (ii) for the parties to submit a

joint meet and confer report and proposed scheduling order.

       1.       The original deadline for Defendant to answer Plaintiff’s complaint was February

18, 2022.

       2.       On February 15, Defendants sought Plaintiff’s consent to a two-week extension of

that deadline. Plaintiff promptly consented to Defendants’ request.

       3.       On February 15, three days before their deadline, Defendants filed a consent motion

for the two-week extension, which the Court granted on February 17.

       4.       Pursuant to their extension, as granted by the Court, Defendants answered

Plaintiff’s complaint on March 4.

       5.       On March 9, the Court ordered the parties to submit a “Joint Meet and Confer

Report” and a “proposed scheduling order” no later than March 25.
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       6.       The following day, Plaintiff’s counsel sought Defendants’ consent to extend the 21-

day period to amend his complaint as a matter of course under Fed. R. Civ. P. 15(a)(1)(B). In the

same correspondence, Plaintiff’s counsel also explained that it would make sense to delay the

parties’ Fed. R. Civ. P. 26(f) conference and the submission of a joint meet and confer report and

proposed scheduling order until after the pleadings are amended.

       7.       Plaintiff’s counsel remained in regular contact with Defendants’ counsel regarding

the suggestion of extending the relevant deadlines. Defendants’ counsel did not provide a firm

response to Plaintiff’s request until the afternoon of March 22. On that date, Defendants’ counsel

represented that Defendants do not contest either (i) a one-week extension of the Fed. R. Civ. P.

15(a)(1)(B) deadline for amending the complaint as of right, or (ii) an extension of the deadline

for submitting a joint meet and confer report and proposed scheduling order.

       8.       Whereas Defendants provided a definitive response on the afternoon of March 22,

Plaintiff could not comply with the Court’s directive to file his extension request at least four days

in advance of the deadline.

       9.       No party has previously sought an extension of either the deadline to amend or the

deadline to submit a joint meet and confer report and proposed scheduling order.

       10.      Good cause exists for this extension request because Plaintiff intends to amend his

complaint to include facts that had not occurred at the time he filed his original complaint. Good

cause also exists for extending the deadline for the submission of the joint meet and confer report

and proposed scheduling order, as the parties’ discovery plan and proposed deadlines will be

materially affected by the amended pleadings.

       11.      The requested extensions will not affect any other deadlines in this case; indeed, no

other deadlines have been set.



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       12.     Wherefore, Plaintiff asks the Court (i) to extend the Fed. R. Civ. P. 15(a)(1)(B)

deadline for the amendment of Plaintiff’s complaint up to and including April 1, 2022, and (ii) to

extend the deadline for the submission of the joint meet and confer report and proposed scheduling

order until two weeks after the amended pleadings have closed. A proposed order is attached to

this uncontested motion.

Dated: March 22, 2022                                Respectfully submitted,
                                                     MARK MEADOWS
                                                     By Counsel

                                                     /s/ George J. Terwilliger III
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                                CERTIFICATE OF SERVICE

       I certify that, on March 22, 2022, a copy of the foregoing was filed on the Court’s CM/ECF

system, which will send notification to all counsel of record.

                                                     /s/ George J. Terwilliger III




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